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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 SYMBOLOGY INNOVATIONS, LLC                   §
                                              §
          Plaintiff,                          §      Case No: 2:15-cv-00413-JRG-RSP
                                              §
 vs.                                          §
                                              §      PATENT CASE
 EXXON MOBIL CORPORATION                      §
                                              §
          Defendant.                          §


       PLAINTIFF’S NOTICE OF LOCAL PATENT RULES 3-1 AND 3-2 DISCLOSURES

          Plaintiff Symbology Innovations, LLC hereby provides notice that on July 16, 2015, in

 accordance to Local Patent Rules 3-1 and 3-2 it served its 3-1 and 3-2 Disclosures via certified

 mail return receipt requested to Defendant’s lead counsel of record.

 Dated: July 16, 2015
                                          Respectfully submitted,




                                              /s/Jay Johnson
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                                 CERTIFICATE OF SERVICE

 The undersigned certifies that all counsel of record who have consented to electronic service are
 being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-
 5(a)(3) on July 16, 2015. Any other counsel of record will be served by first class mail.

                                              /s/Jay Johnson
                                          Jay Johnson
